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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

MICHELLE MORELLI, individually                 *
and on behalf of all others similarly
situated,                                      *

         Plaintiff,                            *

v.                                             *       Case No.: 8:22-cv-00292-GJH

JIM KOONS MANAGEMENT                           *
COMPANY, dba JIM KOONS
AUTOMOTIVE COMPANIES,                          *

      Defendant.                    *
_____________________________________________________________________________

      [PROPOSED] ORDER GRANTING PLAINTIFFS’ UNOPPOSED MOTION FOR
            PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT
    ___________________________________________________________________________


         Before the Court is Plaintiffs’ Unopposed Motion for Preliminary Approval of Class

Action Settlement, (Doc. No. ___) (the “Motion”), the terms of which are set forth in a Settlement

Agreement with accompanying exhibits attached as Exhibit 2 to Plaintiffs’ Motion (the

“Settlement Agreement”). 1 Having fully considered the issue, the Court hereby GRANTS the

Motion and orders as follows:

         1. Class Certification for Settlement Purposes Only. The Settlement Agreement

provides for a Settlement Class defined as follows:

         All persons to whom Jim Koons Management Company sent a “Notice of Security” letter
         dated on or about January 14, 2022 regarding the Data Security Incident.

         Pursuant to Federal Rules of Civil Procedure 23(e)(1), the Court finds that giving notice is



1
    All defined terms herein have the same meaning as set forth in the Settlement Agreement.
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justified. The Court finds that it will likely be able to approve the proposed Settlement as fair,

reasonable, and adequate. The Court also finds that it will likely be able to certify the Settlement

Class for purposes of judgment on the Settlement because they meet all of the requirements of

Rule 23(a) and the requirements of Rule 23(b)(3). Specifically, the Court finds for settlement

purposes that: a) the Settlement Class is so numerous that joinder of all Settlement Class Members

would be impracticable; b) there are issues of law and fact that are common to the Settlement

Class; c) the claims of the Representative Plaintiffs are typical of and arise from the same operative

facts and the Representative Plaintiffs seek similar relief as the claims of the Settlement Class

Members; d) the Representative Plaintiffs will fairly and adequately protect the interests of the

Settlement Class as the Representative Plaintiffs have no interest antagonistic to or in conflict with

the Settlement Class and have retained experienced and competent counsel to prosecute this

Litigation on behalf of the Settlement Class; e) questions of law or fact common to Settlement

Class Members predominate over any questions affecting only individual members; and f) a class

action and class settlement is superior to other methods available for a fair and efficient resolution

of this Litigation.

        2.      Settlement Class Representatives and Settlement Class Counsel. The Court

finds that Plaintiffs Michelle Morelli, Bianca Wenck, and Iris Perez will likely satisfy the

requirements of Rule 23(e)(2)(A) and should be appointed as Settlement Class Representatives.

Additionally, the Court finds that David K. Lietz of Milberg Coleman Bryson Phillips Grossman,

PLLC; and Terence R. Coates of Markovits Stock DeMarco, LLC will likely satisfy the

requirements of Rule 23(e)(2)(A) and should be appointed as Settlement Class Counsel pursuant

to Rule 23(g)(1).

        3.      Preliminary Settlement Approval. Upon preliminary review, the Court finds the
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Settlement is fair, reasonable, and adequate to warrant providing Notice of Settlement to the

Settlement Class and accordingly is preliminarily approved. In making this determination, the

Court has considered the monetary and non-monetary benefits provided to the Settlement Class

through the Settlement, the specific risks faced by the Settlement Class in prevailing on their

claims, the stage of the proceedings at which the Settlement was reached and the discovery that

was conducted, the effectiveness of the proposed method for distributing relief to the Settlement

Class, the proposed manner of allocating benefits to Settlement Class Members, and all of the other

factors required by Rule 23.

       4.      Jurisdiction. The Court has subject matter jurisdiction pursuant to 28 U.S.C.

§ 1332(d)(2), and personal jurisdiction over the parties before it. Additionally, venue is proper in

this District pursuant to 28 U.S.C. § 1391(b)(1).

       5.      Final Approval Hearing. A Final Approval Hearing shall be held on

       , 202___, at the Greenbelt Division courthouse, 6500 Cherrywood Lane, Greenbelt, MD

20770, Courtroom                [or via telephone or videoconference ] at the to determine, among

other things, whether: (a) this Litigation should be finally certified as a class action for settlement

purposes pursuant to Fed. R. Civ. P. 23(a) and (b)(3); (b) the Settlement should be approved as

fair, reasonable and adequate, and finally approved pursuant to Fed. R. Civ. P. 23(e); (c) this

Litigation should be dismissed with prejudice pursuant to the terms of the Settlement Agreement;

(d) Settlement Class Members should be bound by the releases set forth in the Settlement

Agreement; (e) the application of Settlement Class Counsel for an award of Attorneys’ Fees, Costs,

and Expenses should be approved pursuant to Fed. R. Civ. P. 23(h); and (f) the application of the

Settlement Class Representatives for Service Awards should be approved.

       6.      Claims Administrator. The Court appoints Kroll Settlement Administration LLC
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as the Claims Administrator, with responsibility for class notice and claims administration. The

Claims Administrator is directed to perform all tasks the Settlement Agreement requires. The

Claims Administrator’s fees will be paid pursuant to the terms of the Settlement Agreement.

       7.      Notice. The proposed Notice Plan set forth in the Settlement Agreement and the

Notices and Claim Form attached to the Settlement Agreement as Exhibits A, B, and C are hereby

approved. Non-material modifications to these Exhibits may be made with approval by the parties

but without further order of the Court.

       8.      Findings Concerning Notice. The Court finds that the proposed form, content, and

method of giving Notice to the Settlement Class as described in the Notice Plan and the Settlement

Agreement and its Exhibits: (a) will constitute the best practicable notice to the Settlement Class;

(b) are reasonably calculated, under the circumstances, to apprise Settlement Class Members of

the pendency of the Litigation, the terms of the proposed Settlement, and their rights under the

proposed Settlement, including but not limited to their rights to object to or exclude themselves

from the proposed Settlement and other rights under the terms of the Settlement Agreement; (c)

are reasonable and constitute due, adequate, and sufficient notice to all Settlement Class Members

and other persons entitled to receive notice; (d) meet all applicable requirements of law, including

Federal Rule of Civil Procedure 23(c); and (e), and the Due Process Clause(s) of the United States

Constitution. The Court further finds that the Notice is written in plain language, uses simple

terminology, and is designed to be readily understandable by Settlement Class Members.

       The Claims Administrator is directed to carry out the Notice in conformance with the

Settlement Agreement.

       9.      Class Action Fairness Act Notice. Within 10 days after the filing of the motion to

permit issuance of notice, the Claims Administrator acting on behalf of Defendant shall have
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served or caused to be served a notice of the proposed Settlement on appropriate state officials in

accordance with the requirements under the Class Action Fairness Act (“CAFA”), 28 U.S.C. §

1715(b).

       10.     Exclusion from Class. Any Settlement Class Member who wishes to be excluded

from the Settlement Class must mail a written opt-out Request for Exclusion to the Claims

Administrator at the address and in the manner provided in the Notice. Such opt-out Requests for

Exclusion must meet the Opt-Out Deadline established by this Order and stated in the Notice.

       For a Request for Exclusion to be properly completed and executed, subject to approval by

the Court, it must be in writing and must state the name, address, and phone number of the person

seeking exclusion. Each request must also contain a signed statement to the following effect: “I

request to be excluded from the Settlement Class in the Koons lawsuit.”

       Within 7 days after the Opt-Out Deadline, the Claims Administrator shall provide the

Settling Parties with a complete and final list of all Opt-Outs who have timely and validly excluded

themselves from the Settlement Class and, upon request, copies of all completed Requests for

Exclusions.

       If the final Judgment and Order of Dismissal is entered, any Settlement Class Member who

has not submitted a timely, valid written Opt-Out Request for Exclusion from the Settlement Class

shall be bound by all subsequent proceedings, orders, and judgments in this Litigation, including

but not limited to the release set forth in the Final Judgment and Order of Dismissal. Settlement

Class Members who submit valid and timely Opt-Out Requests for Exclusion shall not be entitled

to receive any benefits from the Settlement.

       11.     Objections and Appearances. A Settlement Class Member who does not file a

valid and timely Request for Exclusion may file with the Court a notice of intent to object to the
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Class Settlement Agreement. The Long Notice shall instruct Settlement Class Members who wish

to object to the Agreement to file their objections with the Court, and to mail copies to Class

Counsel and Koons’ counsel. The Notice shall make clear that the Court can only approve or deny

the Class Settlement Agreement and cannot change the terms. The Notice shall advise Settlement

Class Members of the deadline for submission of any objections. Any such notices of an intent to

object to the Class Settlement Agreement must be written and must include all of the following:

(i). the title of the case; (ii) the Settlement Class Member’s name, address, and telephone number;

(iii) all legal and factual bases for any objection; and (iv) copies of any documents that the

Settlement Class Member wants the Court to consider. Should the Settlement Class Member wish

to appear at the Final Approval Hearing, the Settlement Class Member must so state, and must

identify any documents or witnesses the Settlement Class Member intends to call on his or her

behalf. To be timely, written notice of an objection in the appropriate form must be filed or

postmarked no later than the Objection Deadline.

       Any Settlement Class Member who fails to comply with the provisions in this Order will

waive and forfeit any and all rights they may have to object, will have their objection stricken from

the record, and will lose their rights to appeal from approval of the Settlement. Any such Settlement

Class Member also shall be bound by all subsequent proceedings, orders, and judgments in this

Litigation, including but not limited to the release set forth in the Final Judgment and Order of

Dismissal if entered.

       12.     Claims Process. Settlement Class Counsel and Defendant have created a process

for Settlement Class Members to claim benefits under the Settlement. The Court preliminarily

approves this process and directs the Claims Administrator to make the Claim Form or its

substantial equivalent available to Settlement Class Members in the manner specified in the
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Notice.

          The Claims Administrator will be responsible for effectuating the claims process.

          Settlement Class Members who qualify for and wish to submit a Claim Form shall do so

in accordance with the requirement and procedures specified in the Notice and the Claim Form. If

the Final Judgment and Order of Dismissal is entered, all Settlement Class Members who qualify

for any benefit under the Settlement but fail to submit a claim in accordance with the requirements

and procedures specified in the Notice and the Claim Form shall be forever barred from receiving

any such benefit, but will in all other respects be subject to and bound by the provisions in the

Final Judgment and Order of Dismissal, including the release.

          13.    Termination of Settlement. This Order shall become null and void and shall be

without prejudice to the rights of the parties, all of whom shall be restored to their respective

positions existing before the Court entered this Order and before they entered the Settlement

Agreement, if: (a) the Court does not enter this Preliminary Approval Order; (b) Settlement is not

finally approved by the Court or is terminated in accordance with the Settlement Agreement; (c)

there is no Effective Date; or (4) the number of Opt-Outs is greater than 2% of the estimated

Settlement Class. In such event, the Settlement and Settlement Agreement shall become null and

void and be of no further force and effect, and neither the Settlement Agreement nor the Court’s

orders, including this Order, relating to the Settlement shall be used or referred to for any purpose

whatsoever.

          14.    Use of Order. This Order shall be of no force or effect if the Final Judgment and

Order of Dismissal is not entered or there is no Effective Date and shall not be construed or used

as an admission, concession, or declaration by or against Defendant of any fault, wrongdoing,

breach, or liability. Nor shall this Order be construed or used as an admission, concession, or
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declaration by or against the Representative Plaintiffs or any other Settlement Class Member that

his or her claims lack merit or that the relief requested is inappropriate, improper, unavailable, or

as a waiver by any party of any defense or claims they may have in this Litigation or in any other

lawsuit.

       15.     Continuance of Hearing. The Court reserves the right to adjourn or continue the

Final Approval Hearing and related deadlines without further written notice to the Settlement

Class. If the Court alters any of those dates or times, the revised dates and times shall be posted on

the Settlement Website maintained by the Claims Administrator. The Court may approve the

Settlement, with such modifications as may be agreed upon by the parties, if appropriate, without

further notice to the Settlement Class.

       17.     Stay of Litigation. All proceedings in the Litigation other than those related to

approval of the Class Settlement Agreement are hereby stayed. Further, any actions brought by

Settlement Class Members concerning the Released Claims are hereby enjoined and stayed

pending Final Approval of the Class Settlement Agreement.

       17.     Schedule and Deadlines. The Court orders the following schedule of dates for the

specified actions/further proceedings:

   Event                                          Timing
   Claims Administrator acting on behalf          Within 10 days after the filing of Plaintiffs’
   of Defendant Provides CAFA Notice              Motion for Preliminary Approval of the Class
   required by 28 U.S.C. § 1715(b)                Action Settlement

   Defendant Provides Class List to               Within 15 days after entry of this Preliminary
   Claims Administrator                           Approval Order
   Notice Deadline for Claims                     Within 30 days after the Order of Preliminary
   Administrator to Begin Sending                 Approval, with notice to be completed within
   Summary Notice                                 45

   Motion for Attorney's Fees,                    At Least 14 days before the Objection Deadline
   Reimbursement of Costs and Expenses,
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  Event                                   Timing
  and Service Awards to be Filed by
  Class Counsel

  Postmark Deadline for requests for      60 days after Notice Deadline
  Exclusion (Opt-Out) or Objections
  Postmark/Filing Deadline for Filing     90 days after Notice Deadline
  Claims
  Motion for Final Approval to be Filed   At Least 14 days before the Final Approval
  by Class Counsel                        Hearing
  Final Approval Hearing                  No earlier than 100 days after entry of this
                                          Preliminary Approval Order




DONE AND ORDERED in Greenbelt, Maryland on this 26
                                                ___ day of October
                                                             __    , 2022.



                                                                   /S/
                                              HONORABLE GEORGE J. HAZEL
                                              UNITED STATES DISTRICT JUDGE
